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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

UNITED STATES OF AMERICA                              §
                                                      §
v.                                                    §           MAGISTRATE NO. H-09-380
                                                      §
HILARIO A. BERMUDAS                                   §

                             ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention pending trial and the Defendant waived his right to a detention hearing. That waiver is
entered in the record as Dkt. No. 12. I conclude that the following facts are established by a
preponderance of the evidence or clear and convincing evidence and require the detention of the
above-named defendant pending trial in this case.

                                              Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)      The defendant has been convicted of a (federal offense) (state or local offense that
                  would have been a federal offense if a circumstance giving rise to federal jurisdiction
                  had existed) that is

                       []      a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                       []      an offense for which the maximum sentence is life imprisonment or death.

                       []      an offense for which a maximum term of imprisonment of ten years or
                               more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                               ( ) § 955(a).

                       []      a felony that was committed after the defendant had been convicted of two
                               or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                               (A)-(C), or comparable state or local offenses.

           [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                   pending trial for a federal, state or local offense.

           [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
                   of the defendant from imprisonment) for the offense described in finding 1.
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        [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                combination of conditions will reasonably assure the safety of any other person and the
                community. I further find that the defendant has not rebutted this presumption.

[X]     B.         Findings of Fact [18 U.S.C. § 3142(e)]

        [X] (1)        There is probable cause to believe that the defendant has committed an offense

                       [X]     for which a maximum term of imprisonment of ten years or more is
                               prescribed in 21 U.S.C.
                               (X) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                       []      under 18 U.S.C. § 924(c).

        [X ] (2)       The defendant has not rebutted the presumption established by finding 1 that no
                       condition or combination of conditions will reasonably assure the appearance of
                       the defendant as required and the safety of the community.

[ X]    C.         Findings of Fact [18 U.S.C. § 3142(f)(2)]

        [X] (1) Defendant is charged with conspiracy to possess with intent to distribute heroin.

        [X] (2) There is a serious risk that the defendant will flee.

        [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
                (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]     D.         Findings of Fact [18 U.S.C. § 3142(c)]

        [ ] (1) As a condition of release of the defendant, bond was set as follows:

        [ ] (2)

        [X ] (3)       I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                       § 3142(c) which will reasonably assure the appearance of the defendant as
                       required.

        [] (4)     I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                   § 3142(c) which will reasonably assure the safety of any other person or the
                   community.




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                             Written Statement of Reasons for Detention

        I find that the accusations in the criminal complaint and the information submitted in the
Pretrial Services Agency report establishes by a preponderance of the evidence that no condition or
combination of conditions will reasonably assure the appearance of the defendant as required .

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant is a 27-year old citizen of Mexico with no legal status in the United States.
                Immigration Customs and Enforcement may issue a detainer against him.

        2.      Defendant has no known criminal history in the United States.

        3.      Defendant is charged with conspiracy to possess with intent to distribute more than 500
                grams but less than 1 kilogram of heroin in violation of 21 U.S.C. §§ 841(a)(1),
                841(b)(1) and 846. Defendant is facing a potential penalty of 5 to 40 years in prison.

        4.      Defendant has not rebutted the statutory presumption that he is a flight risk.

        5.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant in court. Detention is ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.

        Signed at Houston, Texas, on May 29, 2009.




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